   Case 3:17-cv-02641-AET Document 42 Filed 08/16/18 Page 1 of 2 PageID: 592

                                                                   RECEIVED
                       FROM THE DESK OF C. TATE GEORGE
                                                                      AUG 15 2018
                                  RECEIVED                    8/10/18----;~-:----­
                                                                         Chambers of
 To:   Judge Anne E. Thompson             AUG 1 6_ 2018           Anne E. Thompson, U.S.D.J.
       402 East State Street
       Trenton,· NJ                 AT 8:30 .
                                       WILLIAM T. WALSH   M
                                              CLERK

            RE: Request to have the Clerk file my motions in totality
                on the· Docket.

 Judge Thompson:
      As of this request in writing to your attention; it has been brought
 to my attention that for some unknown reasons my recent motion. ;to expedite
 Petitioner's 2255 Habeas Corpus under Rule 5, ::The Answer-and the Reply has
 not been properly docketed with the Court on Pacer. My motion consists of
 four (4) pages in total, including the last page which is an exhibit docketed
 as Case 3:17-CV-02641 AE7 Document 39 filed 4/30/18 Page 1 of 1 Page ID: 553.
 The docket reflects only 2 pages which includes the first page of my motion
 and a copy of the envelope the complete motionwas sent to the Court. i,',
      It is without question that the standard preocedure for docketing materials
 with the Court is that all pages 1ncluding exhibits are to be filed (on Pacer)
 to reflect in its entirety so that the record shows a full correspondence
 for future litigation through the Appellate process.
      I request per this writing that the document #40 to expedite Petitioner's
 §2255 Habeas petition date August·l, 2018 be correctly reflected and refiled
 with all 4 pages filed on the docket. Maybe this is an oversight by the Clerk's -
 office, yet I need to bring this matter to your attention immediately to
 be corrected and that my case reflects a complete recor~;·as I fight to receive
 a fair process due to me required by law under the Constitution of the United
 States.
      Thank you for addressing this matter and I request further that any and
 all motions I file moving forward also be filed in its entirety so_, that my
 rights are protected and nothing is hidden from view of the public and the
 Appeals Courts.

cc: Chief Circuit Judge D.Brooks 3rrith
    601 Market St.
    Philadelphia, PA 19106
    Zack Intrader (AUSA)
    Nicoline Steinert/Family
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                                              Judge Anne Thompson
                                              402 E State ST
                                              Trenton, NJ 08608
                                              United States




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